Case 2:18-Cv-00109-.]PB Document 19-2 Filed 02/08/19 Page 1 of 2 Page|D #: 82

EXHIBIT
B

Case 2:18-Cv-00109-.]PB Document 19-2 Filed 02/08/19 Page 2 of 2 Page|D #: 83

From: Eric Hedrick [mailto:ekhedrick@yahoo.com] ~
Sent: Monday, OCtober 03, 2016 12:28 PM

To: Umstot, Peyton; Cullers, Tlm

Subject: Placement ’

This email is to infonn you that we Will not be taking any more chicks after
this flock we have now is finished. We are closing our doors.

l§lease respond so we know you have received this.

Eric and Rachel Hedrick
Triple R Ranch LLC

